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wi ¥\ United States District Court
3) Western District of Washington

  

 

 

 

 

 

 

 

 

Holly Rydman Case Number: |2:18-cv-01578-RSM

Plaintiff(s) APPLICATION FOR LEAVE TO APPEAR
PRO HAC VICE

V.

 

CHAMPION PETFOODS USA, INC. ET AL

 

 

 

Defendant(s)

Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,

Katherine Van Dyck hereby applies for permission to appear and participate as

 

counsel in the above entitled action on behalf of the following party or parties:

 

Holly Rydman

 

The particular need for my appearance and participation is:

 

My experience litigating false labeling cases and class action litigation in district courts across the
country

 

 

Katherine Van Dyck

 

understand that | am charged with knowing and complying with
all applicable local rules;

| have not been disbarred or formally censured by a court of record or by a state bar association; and there are
not disciplinary proceedings against me.

| declare under penalty of perjury that the foregoing is true and correct.

11/15/2018

Date: Signature of Applicant: s/ Katherine Van Dyck

 

 

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Pro Hac Vice Attorney
Katherine Van Dyck

Applicant's Name:

 

Cuneo Gilbert & LaDuca LLP

Law Firm Name:

 

Street Address 1: 4725 Wisconsin Avenue NW

 

 

 

 

Address Line 2: Suite 200
City: Washington state. DC vo aes
Phone Number w/ Area Code (202) 789-3960 Bar# 511604 Sie | DC -

 

Primary E-mail Address; Kvandyck@cuneolaw.com

(Primary E-Mail address must be for the Pro Hac attorney and not any subordinate or staff member)

 

, nvij@cuneolaw.com
Secondary E-mail Address: 1@

 

STATEMENT OF LOCAL COUNSEL

| am authorized and will be prepared to handle this matter, including trial, in the event the
applicant Katherine Van Dyck is unable to be present upon any date
assigned by the court.

Date: 11/20/2018 Signature of Local Counsel: s/ Brendan Wesley Donckers

 

peal cauncalienanie Brendan Wesley Donckers

 

. BRESKIN JOHNSON & TOWNSEND PLLC
Law Firm Name:

 

 

 

Street Address 1: 1000 SECOND AVENUE
Address Line 2: Suite 3670
cy, SE state: WA zip, 98104

 

 

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Phone Number w/ Area Code Ba

 

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| | Electronic Case Filing Agreement

 

By submitting this form, the undersigned understands and agrees to the following:
1. The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and notices.

2. The password issued to you by the court, combined with your login, serves as your signature under Federal
Rule of Civil Procedure 11. Therefore, you are responsible for protecting and securing this password
against unauthorized use.

3. If you have any reason to suspect that your password has been compromised in any way, you are
responsible for immediately notifying the court. Members of the court's systems staff will assess the risk
and advise you accordingly.

4. By signing this Registration Form, you consent to receive notice electronically, and to waive your right to
receive notice by personal service or first class mail pursuant to Federal Rule of Civil Procedure 5(b)(2)(C),
except with regard to service of a complaint and summons. This provision does include electronic notice of
the entry of an order or judgment.

5. You will continue to access court information via the Western District of Washington's internet site or
through the Public Access to Court Electronic Records (PACER) system. You will continue to need a PACER
login, in addition to the court-issued password. You can register for PACER at their web site: http://pacer.
psc.uscourts.gov.

6. By this registration, the undersigned agrees to abide by the rules and regulations in the most recent
General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any changes or
additions that may be made to such administrative procedures in the future.

11/15/2018 ;
DateSigned_——S—S—S—™S—S—S_=sSignatture / Katherine Van Dyck

(Pro Hac Vice applicant name)

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